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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA


United States of America,                                      Case. No. 10-CR-0339(8) (PJS/JJK)

             Plaintiff,

v.
                                                                        Order
Javier Enrique Torres,

             Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Bruce D. Nestor, Esq., De Leon & Nestor, LLC, counsel for Defendant Torres.



       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated July 7, 2011. No objections have been

filed to that Report and Recommendation in the time period permitted. Based on the Report and

Recommendation of the Magistrate Judge, on all of the files, records, and proceedings herein, the

Court now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

        1.      Defendant Torres’s Motion to Suppress Evidence Obtained by Electronic

Surveillance [Docket No. 282], is DENIED.


Date: July 25, 2011

                                                      s/Patrick J. Schiltz
                                                      Patrick J. Schiltz
                                                      United States District Judge
